                                                                      Case 2:16-cv-01106-GMN-NJK Document 185 Filed 11/08/21 Page 1 of 2




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                                                             9   Bank of America, N.A., successor by merger to
                                                                 BAC Home Loans Servicing, LP fka Countrywide
                                                            10   Home Loans Servicing, LP
                                                            11                                UNITED STATES DISTRICT COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200
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                                                            12                                       DISTRICT OF NEVADA
                      LAS VEGAS, NEVADA 89134




                                                            13   BANK OF AMERICA, N.A., successor by                  Case No.: 2:16-cv-01106-GMN-NJK
AKERMAN LLP




                                                                 merger to BAC HOME LOANS SERVICING,
                                                            14   LP fka COUNTRYWIDE HOME LOANS                        STIPULATION AND ORDER TO DISMISS
                                                                 SERVICING, LP,                                       TERRACES     AT    ROSE    LAKE
                                                            15                                                        HOMEOWNERS ASSOCIATION WITH
                                                                                       Plaintiff,                     PREJUDICE
                                                            16
                                                                 v.
                                                            17
                                                                 TERRACES AT ROSE LAKE HOMEOWNERS
                                                            18   ASSOCIATION; SFR INVESTMENTS POOL
                                                                 1, LLC; ALESSI & KOENIG, LLC,
                                                            19
                                                                                       Defendants.
                                                            20

                                                            21            Bank of America, N.A. (BANA) and Terraces at Rose Lake Homeowners Association
                                                            22   (Terraces) by and through their respective counsel of record, hereby stipulate and agree to the
                                                            23   dismissal of BANA's claims against Terraces in this action with prejudice.
                                                            24   …
                                                            25   …
                                                            26   …
                                                            27   …
                                                            28   …
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                                                                 60751945;1
                                                                   Case 2:16-cv-01106-GMN-NJK Document 185 Filed 11/08/21 Page 2 of 2




                                                             1            BANA and Terraces shall bear their own attorney's fees, prejudgment interest, and costs of

                                                             2   suit associated with the dismissed claims.

                                                             3            DATED November 5, 2021.

                                                             4
                                                                 AKERMAN LLP                                         BOYACK ORME & TAYLOR
                                                             5
                                                                 /s/ Lilith V. Xara                                  /s/ Colli C. McKiever
                                                             6   ARIEL E. STERN, ESQ.                                EDWARD D. BOYACK, ESQ.
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                                                            12   Countrywide Home Loans Servicing, LP
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                            14                                                    ORDER

                                                            15

                                                            16

                                                            17                                           IT IS SO ORDERED.

                                                            18                                           Dated this ____
                                                                                                                     8 day of November, 2021.
                                                            19

                                                            20
                                                                                                         ___________________________
                                                            21                                           Gloria M. Navarro, District Judge
                                                                                                         UNITED STATES DISTRICT COURT
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